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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON



ANTHONY DAVID BRAINARD,                       Case No. 3:17-cv-00253-SI

               Plaintiff,                     JUDGMENT

      v.

WESTERN OREGON UNIVERSITY,

               Defendant.

Michael H. Simon, District Judge.

      Based on this Court’s OPINION AND ORDER,

      IT IS ADJUDGED that this case is DISMISSED.

      DATED this 29th day of March, 2018.

                                              /s/ Michael H. Simon
                                              Michael H. Simon
                                              United States District Judge




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